              Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 1 of 24




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------------- x
                                                              :
 SHAKIRA LESLIE; and SHAMILL                                  :   CLASS ACTION COMPLAINT
 BURGOS; on behalf of themselves and all                      :
 others similarly situated,                                   :   ____-CV-________
                                                              :
                   Plaintiffs v.                              :
                                                              :
 CITY OF NEW YORK; KEECHANT SEWELL,
                                                              :
 Police Commissioner for the City of New York, in
                                                              :
 her official capacity; KENNETH COREY, Chief of
                                                              :
 Department for the New York City Police
 Department, in his official capacity; JAMES :
 ESSIG, Chief of Detectives for the New York City :
 Police Department, in his official capacity; :
 EMANUEL KATRANAKIS, Deputy Chief in the :
 Forensic Investigations Division of the New York :
 City Police Department, in his official capacity; :
 and DR. JASON GRAHAM, Acting Chief Medical :
 Examiner for the City of New York, in his official :
 capacity;                                                    :
                                                              :
                   Defendants.                                :
------------------------------------------------------------- x


                                      PRELIMINARY STATEMENT

         1.       This class-action, civil rights lawsuit challenges New York City’s policy and

practice of secretly taking and analyzing the DNA of people whom the police suspect of

committing a crime without a warrant or court order and maintaining this DNA in an index where

it is perpetually compared to past and future crime scene evidence. Through this practice, the City

has seized the DNA of thousands of unsuspecting, primarily Black and Latinx New Yorkers, and

turned them into permanent criminal suspects.

         2.       For years now, New York City Police Department (“NYPD”) detectives have

targeted unsuspecting New Yorkers, including young children, by bringing them into interrogation


                                                          1
            Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 2 of 24




rooms that have been prepared in advance to capture saliva, skin cells, or other genetic material.

In these interrogation rooms, detectives offer people cigarettes and drinks to secretly collect their

DNA. In one example, detectives handed a 12-year-old boy a McDonald’s soda and, after the boy

drank from it and was escorted out the room, they secretly removed the straw for DNA testing and

placed the boy’s DNA in an index of people suspected of criminal activity (“the Suspect Index”).

       3.       The NYPD sends these DNA samples to the Office of Chief Medical Examiner

(“OCME”), which analyzes the samples, creates a DNA profile, and compares that profile to crime

scene DNA evidence in perpetuity. Through the Suspect Index, the NYPD and OCME partner to

put people’s DNA profiles through a genetic lineup that compares the profiles against all past and

future crime scene DNA evidence—all without obtaining a warrant or court order to conduct these

DNA searches.

       4.       The Suspect Index is illegal. Unlike state and federal DNA index systems, the

City’s Suspect Index lacks legislative authorization. As a result, it operates without any

independent oversight. New York law prohibits the indexing of a person’s DNA unless the person

has been convicted of a crime. Nonetheless, the City’s Suspect Index ignores state laws and

regulations that limit DNA indexing and hoards the DNA of arrestees and suspects. Without any

independent oversight, the NYPD and OCME have additionally deployed a new and invasive

investigatory technique using DNA samples to investigate a suspect’s entire family.

       5.       Because of a history of institutional racism and disparities in arrest rates in New

York City, Black and Latinx people make up the vast majority of arrestees who are subject to the

City’s DNA taking and indexing practice. And, with the City’s new genealogical investigative

technique, the parents, grandparents, siblings, children, and even the distant relatives of suspects

and arrestees can be swept into the City’s genetic investigations.




                                                 2
            Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 3 of 24




       6.       The Defendants have violated and continue to violate the Plaintiffs’ rights under

the Fourth Amendment of the United States Constitution and their rights under New York law.

Plaintiffs seek injunctive and declaratory relief to end the City’s practice of targeting thousands of

individuals, many of whom have never been convicted of a crime, to take their DNA and turn them

into permanent suspects.

                                             PARTIES


       7.       Plaintiff Shakira Leslie is a 26-year-old Black resident of New York City and has

no criminal convictions. In 2019, the Defendants took her DNA, without her knowledge, and put

it in the Suspect Index, where it is subject to suspicionless comparison against at least 29,492 DNA

samples from crime scenes.

       8.       Plaintiff Shamill Burgos is a 22-year-old Latino former resident of New York City

and has no criminal convictions. In 2019, the Defendants took his DNA, without his knowledge,

and put it in the Suspect Index, where it is subject to suspicionless comparison against at least

29,492 DNA samples from crime scenes.

       9.       Defendant the City of New York (the “City”) is a municipal corporation within the

State of New York. The New York City Police Department and the Office of Chief Medical

Examiner are agencies of the City of New York. The City is responsible for the policy, practice,

supervision, and implementation of all NYPD and OCME matters and is responsible for the

appointment, training, supervision, and conduct of all NYPD and OCME personnel. In addition,

the City is responsible for ensuring that NYPD and OCME personnel obey the laws of the United

States and New York State.




                                                  3
          Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 4 of 24




        10.     Defendant Keechant Sewell is the Police Commissioner of New York City. As

Commissioner, Sewell has final policymaking authority with respect to the NYPD. She is sued in

her official capacity.

        11.     Defendant Kenneth Corey is the Chief of Department of the NYPD. As Chief of

Department, Corey is responsible for directing and overseeing the activities of operational bureaus,

including the Detective Bureau. He is sued in his official capacity.

        12.     Defendant James Essig is the Chief of Detectives of the NYPD. As Chief of

Detectives, Essig manages and sets policy for the Detective Bureau and its specialized divisions,

including the Forensic Investigations Division. He is sued in his official capacity.

        13.     Defendant Emanuel Katranakis is a Deputy Chief in the Detectives Bureau and the

commanding officer of the Forensic Investigations Division of the NYPD. As the commanding

officer, Katranakis manages and sets policy for the Forensic Investigations Division. He is sued in

his official capacity.

        14.     Defendant Dr. Jason Graham is the Acting Chief Medical Examiner for the OCME.

As the Acting Chief Medical Examiner, Dr. Graham has final policymaking authority with respect

to OCME. He is sued in his official capacity.

                                              FACTS

Defendants Have a Policy and Practice of Unlawfully Collecting, Analyzing, and Indexing the
DNA of Unsuspecting New Yorkers, Including Young Children

        15.     The NYPD has an established practice and procedure for secretly taking a person’s

involuntarily shed DNA for comparison against all crime scene evidence involving DNA. The

NYPD Detective Guide (“the Guide”) provides instructions for secretly taking a person’s DNA

when they are in a controlled environment, like a police precinct, and when they are in a non-

controlled environment, like a coffee shop.



                                                 4
          Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 5 of 24




       16.     In most cases, NYPD detectives take a person’s DNA after bringing them to the

police precinct. The Guide instructs detectives to clean a precinct’s interrogation room by

removing any used drinking containers or other trash and any used ashtrays. Detectives then must

use Clorox wipes to clean any tabletops, desks, and chairs, and place an unused disposable ashtray

on the table. With these measures, the trap is set to capture a person’s DNA.

       17.     When a person is in the interrogation room, the Guide instructs detectives to

“[p]rovide the suspect with an object that will be partially consumed (e.g., cigarette, chewing gum,

apple) or a container filled with a beverage (e.g., water in a plastic cup, soda in a can, coffee in a

Styrofoam cup, juice in a plastic bottle).” It then instructs detectives to maintain constant

observation of the person until they can collect the item. In practice, NYPD officers do not allow

people to take the used items with them when they leave the interrogation room. After the

interrogation, the Guide instructs detectives to collect the person’s involuntarily shed DNA sample

by putting on gloves and placing the object with the DNA sample in an evidence bag.

       18.     For years now, NYPD detectives have followed the Guide’s instructions to target

whomever they choose and secretly take their DNA. In total, thousands of people, including

children, have had their DNA taken by the NYPD pursuant to this policy and practice.

       19.     In March 2018, for example, NYPD detectives interrogated a 12-year-old boy they

suspected of having committed a crime and took his DNA, according to reporting by the New York

Times. In the interrogation room, detectives handed him a McDonald’s soda. The boy drank the

soda and ultimately was escorted out of the room by police. Without the knowledge or consent of

the boy or his parents, detectives removed the straw from the soda and had the DNA sample from

the straw compared to DNA evidence found at the crime scene. The boy’s DNA did not match the

crime scene DNA and the charges against him were dropped. However, following the NYPD’s




                                                  5
            Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 6 of 24




policy, OCME proceeded to store the boy’s DNA in its Suspect Index, making him a suspect in

future criminal cases involving DNA. His DNA remained in the Suspect Index for more than a

year where it was compared against tens of thousands of crime scene samples until his parents

were finally able to get it expunged.

          20.     In another example, detectives were caught on videotape scrubbing clean an

interrogation room table and placing a new ashtray on the table before escorting a man into the

room. NYPD video footage released to the public shows a detective providing the man a cigarette,

which he smokes and puts out in the ashtray.1 After cuffing the man’s hands behind his back and

escorting him out of the room, the detective returns with gloves on his hands and places the

cigarette butt in an evidence bag.

          21.     According to NYPD policy and practice, detectives have the discretion to take the

DNA of any adult whom they suspect of committing any crime, and the discretion to take the DNA

of any minor they suspect of committing a felony or certain specified misdemeanors. No warrant

or court order is required. No supervisor approval or other additional process is required.

Detectives only have to obtain supervisor approval before taking the DNA of a minor suspected

of committing a misdemeanor that is not specified in the Guide.

          22.     Even when someone has explicitly refused to consent to providing a DNA sample,

NYPD detectives have circumvented that refusal by simply taking the person’s DNA without their

knowledge. NYPD detectives even circumvent refusals to take the DNA of children. In a February

2020 New York City Council hearing, senior NYPD officials admitted to giving NYPD detectives

the discretion to secretly take a child’s DNA after the child and their parent have refused to provide

it.



1
    https://www.youtube.com/watch?v=ww_npq7h_to


                                                  6
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 7 of 24




       23.     After detectives secretly collect an object with a person’s DNA sample, they deliver

it to OCME. OCME, pursuant to its own published manuals, then analyzes the DNA sample, which

includes extracting the DNA, creating a DNA profile, and comparing it against DNA evidence in

the case in which the person is a suspect. OCME then, again pursuant to its own published manuals,

uploads the person’s DNA profile to the Suspect Index to continuously compare the person’s DNA

profile against all past and future crime scene DNA evidence. Once uploaded to the Suspect Index,

the person’s DNA profile can remain there indefinitely, even if that person’s charges are dismissed.

The Suspect Index thus operates like a genetic lineup that continuously compares the DNA profiles

of thousands of New Yorkers, including children and individuals with no criminal history, against

tens of thousands of crime scene DNA samples.

       24.     OCME officials know that the NYPD routinely takes the involuntarily shed DNA

of suspects without a warrant or court order and that the Suspect Index it maintains is comprised

of such DNA. In written testimony submitted to the New York City Council in February 2020, the

former Assistant Laboratory Director of OCME and creator of the original OCME local database

system, publicly raised ethical and civil liberties concerns regarding the NYPD’s tactics for

obtaining DNA samples and the transformation of the Suspect Index into “a vast repository of

DNA from dragnets, surreptitious collection, and collection from children.”

       25.     Nonetheless, OCME has continued its partnership with the NYPD to subject people

to continuous genetic lineups without their knowledge or consent, including children. For example,

in August 2020, J.B., a 15-year-old boy from the Bronx who has special educational needs, was

arrested on his way to a deli. He was brought to the police precinct on weapons charges and

processed as an alleged juvenile delinquent. J.B. had never been arrested before and had no prior

contact with the criminal or family court systems. Sweating and frightened, he waited in a room




                                                 7
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 8 of 24




until police officers offered him a bottle of Coca-Cola, which he quickly accepted and drank.

Almost immediately, the officers returned, told him they were not supposed to give him the bottle,

and demanded it back. He gave the bottle back to the officers. J.B. didn’t realize it then, but this

had been a ruse to obtain his DNA.

       26.     The officers never asked J.B. for his consent before secretly taking his DNA.

Although J.B.’s mother had rushed to the precinct to be with her son, the NYPD never asked for

her consent either. After taking his DNA, the NYPD then sent it to OCME for processing. But

OCME never compared J.B.’s DNA to any evidence in his case. Instead, OCME uploaded his

DNA profile to the Suspect Index. When J.B., through his attorneys, discovered that his DNA was

in the Suspect Index, he sent a letter to OCME requesting that his DNA profile be removed from

the index. OCME refused to do so without a court order. After J.B. filed an Article 78 petition in

New York State Supreme Court seeking such an order, OCME finally consented to remove his

profile. By then, his DNA had been compared to tens of thousands of crime scene evidence, for

which there was no reason to suspect his involvement.

       27.     The Defendants’ policy and practice of testing people’s DNA without their consent

and without a warrant or a court order ignores state law privacy protections applicable to all New

Yorkers, including suspects and arrestees. Under New York Civil Rights Law 79-L, New York

State prohibits genetic testing, including “DNA profile analysis,” of any person’s biological

material known to contain DNA without the person’s written informed consent, unless permitted

by court order or under state law provisions authorizing such testing for people convicted of

crimes. The Legislature included these limited exceptions to the civil rights law “to balance the

rights of the individual with the legitimate interests of our criminal justice system,” according to

the law’s sponsor in the State Senate. But the Defendants have far exceeded those limits.




                                                 8
            Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 9 of 24




The Suspect Index Unlawfully Expands Beyond Lawful State and Local DNA Indexing
Frameworks

        28.     Through the maintenance and use of the Suspect Index, the Defendants have created

an unauthorized expansion of the national DNA database system. Since 1994, federal and state

governments have established and maintained a national system to facilitate DNA comparisons,

known collectively as the Combined DNA Index System (CODIS), that was created by and is

regulated through federal and state law. Law enforcement rely on this DNA indexing system to

compare DNA from crime scene evidence against uploaded DNA profiles of individuals: if the

DNA markers are the same, a “match” is reported to law enforcement.

        29.     CODIS is an umbrella system of DNA indices: the National DNA Index System

(NDIS), the State DNA Index Systems (SDIS), and the Local DNA Index Systems (LDIS). Each

index system categorizes DNA samples into smaller, discrete indices. Only two categories are

relevant here: “Known” indices, which store DNA profiles of known persons, and “Forensic

Unknown” indices, which store DNA profiles collected from crime scene evidence.

        30.     Within CODIS are DNA databases from all 50 states (known as SDIS databases),

including New York State’s DNA index system. New York’s SDIS is jointly maintained by the

New York State Division of Criminal Justice Services and the New York State Police. Each state’s

legislature determines whether their state’s SDIS includes arrestees. In New York, the state

legislature restricted the eligibility criteria for its “Known” index to people convicted of certain

crimes. DNA profiles are thus only uploaded to New York’s SDIS if they meet this eligibility

criteria.

        31.     Most local laboratories that participate in CODIS maintain their own LDIS, which

is an independent local DNA database. Each such laboratory, including OCME, is authorized to

maintain its own LDIS to perform a limited function: to store crime scene DNA profiles for upload



                                                 9
        Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 10 of 24




to higher SDIS Unknown indices, where they are compared to the profiles stored in the Known

indices in SDIS. OCME maintains an LDIS and uses it for this authorized purpose. But, within its

LDIS, OCME also maintains another, unauthorized “Known” index, referred to here as the Suspect

Index. That unauthorized index contains profiles from arrestees and mere suspects, including

children as young as 11 years old, that are barred by state law from being included in New York’s

SDIS, and it continuously compares these unauthorized profiles to all past and future crime scene

DNA evidence.


                                 NYC’s LDIS Index

                                Local DNA
                                  Index




                                                      UNAUTHORIZED
                                Forensic              Known Suspect
                             Unknown Index                Index


                           • Unidentified         •   Convicted persons
                             forensic profiles    •   Arrestees
                             (crime scene         •   Suspects
                             evidence)            •   Persons of interest
                                                  •   Children




Unlike the “Known” Indices within NDIS and SDIS, the City’s Suspect Index is Illegal and
Unregulated
       32.      OCME operates the City’s Suspect Index in violation of the New York State

Legislature’s comprehensive DNA laws and its regulatory structure. Through Article 49-B of the

Executive Law, the New York State Legislature created SDIS and the laws governing state and

local forensic DNA laboratories. Under Article 49-B, local laboratories such as OCME are barred

from maintaining a local “Known” index separate from SDIS. Nonetheless, OCME developed and



                                                 10
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 11 of 24




continues to maintain its own “Known” index, the Suspect Index. OCME not only maintains a

“Known” index in violation of Article 49-B, it includes DNA profiles in the index that Article 49-

B explicitly disallows.

       33.     The New York State Legislature made a deliberate decision to limit SDIS’s

“Known” DNA profiles to people convicted of crimes and has steadfastly refused to expand this

index in order to carefully balance the needs of law enforcement against the privacy of minors and

of adults accused but not convicted of crimes. Despite this, the NYPD collects, and OCME

analyzes and permanently indexes, DNA samples from children, suspects, and arrestees, including

those whose charges are dismissed, circumventing New York State’s clear legal mandate.

       34.     This practice is particularly egregious as it relates to children. Juvenile delinquency

proceedings are, by design, intended to relieve children from the stigma or burden of a criminal

record, and juvenile delinquency proceedings as a matter of law can never result in criminal

convictions. Rather, if a court finds that a child engaged in conduct that would constitute a crime

if conducted by an adult, the result is a juvenile delinquency adjudication, not a criminal

conviction. The law affords children significant safeguards to protect their privacy throughout

juvenile delinquency proceedings even when an adjudication is made. These protections include

that police records of a child’s arrest must be withheld from public inspection; that all fingerprints

and photos of a child alleged to be a juvenile delinquent be destroyed if there is a favorable

disposition or the person reaches the age of 21 without a criminal conviction or open case; that,

except where required by statute, no one may require a person to divulge information relating to a

juvenile delinquency arrest or proceeding; and that adjudications may not prevent the person from

engaging in any profession or lawful activity.




                                                 11
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 12 of 24




       35.     The City’s policy contains no safeguards to prevent the indefinite retention of a

child’s DNA profile. The City’s policy contains no time limitation for the use of a child’s DNA,

even if they are never convicted of a criminal offense. Instead, the City’s practice of subjecting

children to perpetual genetic lineups treats them like permanent suspects in crimes.

       36.     The City’s Suspect Index is not only illegal, but it is unregulated by any

independent body. NDIS and SDIS operate under strict federal regulations and under FBI

oversight. But the Suspect Index is not subject to such oversight. New York’s SDIS not only

operates under federal regulation and FBI oversight, it also operates under state regulations and

the independent oversight of the New York State Commission on Forensic Science. The

Commission was established under Article 49-B to develop minimum standards for all forensic

laboratories in New York. But the Commission has no authority over OCME’s creation and

operation of the Suspect Index. Thus, unlike New York’s SDIS, the Suspect Index, operates

without any independent oversight.


The City’s Practice of Using the Private Genetic Material of Unsuspecting New Yorkers to
Turn Them into Permanent Suspects Invades their Privacy
       37.     The City’s practice of hoarding the DNA of unsuspecting New Yorkers in an

unauthorized and unregulated Suspect Index exploits the fact that people unavoidably shed their

DNA wherever they go through skin cells, hair, and saliva. By merely touching an object’s surface

with their fingertip, a person causes their DNA to be deposited on it. Every used coffee cup, tissue,

straw, cigarette butt, soda can, and piece of gum leaves behind thousands of copies of a person’s

genetic material. People unavoidably shed their DNA even when they aren’t touching objects or

consuming things. Each hour, a person sheds approximately 30,000 to 40,000 skin cells. And each

day, a person sheds 40 to 100 hairs.




                                                 12
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 13 of 24




       38.     Scientific developments have even made it possible to vacuum DNA samples from

the open air, according to a recent scientific journal article. While this new technique is currently

being used to identify nearby zoo animals based on their airborne DNA samples, it reveals the

great extent to which DNA is unavoidably shed in the environment.

       39.     While people unwittingly shed DNA, the information contained within it remains

critically important and private to them. Unlike a fingerprint, DNA reveals deeply personal

characteristics like a person’s genetic predispositions toward certain medical conditions, including

Alzheimer’s, cystic fibrosis, breast cancer, and addiction; their ancestry; and their biological

familial relationships, including previously unknown parentage.

       40.     Traditional forensic DNA testing analyzes so-called “non-coding” regions of our

DNA to determine someone’s identity. While it had typically been understood that only the

“coding” DNA regions reveal personal characteristics, in recent years researchers have found that

“non-coding” DNA regions can reveal more than someone’s identity. For example, researchers

have found dozens of associations between “non-coding” DNA and genetic traits ranging from

schizophrenia to cancer.

       41.     While CODIS laboratories across the country are limited under federal regulation

to “non-coding” analysis, the City has rolled out its plans to use “coding” DNA to map out a

person’s family tree. A new NYPD investigative practice, called Investigative Genetic Genealogy

(IGG), relies on the “coding” regions of DNA to generate investigative leads in cases.

       42.     IGG begins with a DNA sample from an unsolved crime. In order to generate an

investigate lead using IGG, the police must first send the crime scene DNA sample to a private

laboratory to analyze the DNA’s “coding” regions. The next step is to search for genetic relatives

of the DNA found at the crime scene – in other words, to try to locate family members of the




                                                 13
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 14 of 24




putative perpetrator – using commercial databases, like FamilyTreeDNA and GEDmatch, to which

millions of people have uploaded their DNA profiles. If a potential family member of the

perpetrator is identified through a commercial database search, then the third step in the IGG

process begins: building out a family tree.

       43.     To find out who within a family is a match to the crime scene DNA sample, NYPD

investigators build out a family tree starting with the family member identified through a

commercial database. Unless several members of that person’s family have uploaded their DNA

in commercial genealogical databases, NYPD investigators need to collect DNA from the other

relatives in the family tree, including family members that are not suspected of involvement in the

underlying crime, to determine ancestral lines and familial relationships and narrow their search.

       44.     In December 2021, Deputy Chief Katranakis refused to answer questions about

whether the NYPD would seek a warrant or a person’s consent before collecting DNA samples in

its IGG investigations, rather than relying on the surreptitious collection procedures outlined in the

Detective Guide. Through the City’s collection and retention of thousands of DNA samples from

suspects and arrestees, much of the DNA collection work necessary to build out family trees for

IGG has already begun. OCME retains a vial of DNA extract, which contains both “coding” and

“non-coding” regions, in cold storage for each suspect or arrestee for whom the NYPD has already

requested OCME perform forensic DNA testing. Using IGG, NYPD investigators can use a

person’s DNA sample, secretly taken in an unrelated case, to investigate that person’s entire family

in search of a relative that is a match to the crime scene sample.

       45.     In essence, this new technology creates an incentive for the NYPD to surreptitiously

collect and store as much “suspect DNA” as possible, because the DNA of a suspect may turn out

to be genetically related to DNA collected at a crime scene and investigated using IGG. In March




                                                 14
        Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 15 of 24




2021, Deputy Chief Katranakis informed state officials that, in the NYPD’s view, state regulations

addressing the use of investigative genetic genealogy do not apply to the NYPD. The City’s use

of this investigative method has since been shrouded in complete secrecy and free from any

safeguards.

       46.     IGG investigations implicate the genetic privacy of a suspect’s parents, siblings,

children, and other extended relatives without any independent checks or standards. Genealogical

researchers warn that systems like IGG can use one DNA profile to ascertain genetic information

about relatives as distant as third cousins or a second cousin once removed. Given the amount of

information available in “coding” DNA, IGG investigations have been described as the equivalent

of the government going through all of your medical and familial records.

       47.     Because of the racially disproportionate rates of arrests in New York City, the

City’s practice of collecting the DNA of arrestees and storing the samples in the Suspect Index

makes mostly Black and Latinx people permanent suspects in all crimes involving DNA evidence.

Of all NYPD arrests from 2006–2020, 48.5% of arrests were of Black individuals and 26% were

of Latinx individuals. Of the total arrests during this period, 12% of arrests were of white, non-

Latinx individuals.

       48.     Beyond the harm of being treated as permanent suspects, Black and Latinx people

whose DNA are in the Suspect Index face the risk of wrongful arrest from DNA contamination.

Because DNA transfers easily to and from persons and surfaces, contamination presents a

persistent problem to determining what DNA is relevant in crime scene evidence. Terrell Gills, for

example, was a regular customer at the local Dunkin Donuts in his Queens neighborhood and,

unbeknownst to him, left his DNA behind there. When the store was robbed, a swab of a

touchscreen cash register matched to Gills’ profile in SDIS. Although two other similar robberies




                                               15
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 16 of 24




had taken place within a few days of each other at nearby Dunkin Donuts stores and had resulted

in the arrest of another man, Mr. Gills was wrongfully arrested and jailed pretrial for a year and a

half, and prosecuted based solely on the DNA match. He was acquitted at trial.

       49.     The risk of DNA contamination is made worse in New York City because rank-

and-file NYPD officers who come into contact with crime scene evidence have refused to place

their DNA in an “elimination database” to confirm when contamination takes place. The National

Institute of Standards and Technology, a federal agency, recommends that all law enforcement

personnel place their DNA in an elimination database to ensure accurate DNA comparisons. But

unions representing NYPD officers have steadfastly refused to comply with this recommendation,

citing their privacy concerns over storing officer DNA in a database.


Despite the NYPD’s Promises of Reform, the City’s Suspect Index Has Continued to Grow
       50.     In February 2020, under pressure from the City Council, the NYPD announced

reforms to its DNA retention policies, with the central change being that the NYPD promised to

review the DNA profiles in the Suspect Index and notify OCME if it authorized, pursuant to its

own criteria, that profiles can be removed. The NYPD announced that it would conduct an initial

review of all suspect profiles that are at least two years old. After that review, every four years the

NYPD will review the suspect profiles that are at least four years old. And for any new profiles

added to the Suspect Index, the NYPD will review those profiles upon reaching their second year

of existence in the index.

       51.     Under the NYPD’s unilaterally developed review criteria, the NYPD will not

recommend that an individual’s profile be removed if the profile is eligible for inclusion in SDIS

because of a criminal conviction, if the individual is a suspect in an ongoing police investigation




                                                  16
        Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 17 of 24




or prosecution, or if “no judicial conclusion was reached on the person’s innocence.” The NYPD

retains sole discretion to determine when these criteria for retaining someone’s DNA are met.

       52.    The NYPD also announced that individuals who were acquitted in the case for

which their DNA was taken can submit a certificate of disposition to OCME to seek the removal

of their DNA profile from the Suspect Index. However, they announced no plans to notify

individuals whose DNA was taken surreptitiously that their DNA was placed in the Suspect Index.

The NYPD and the local District Attorney’s office both have unregulated discretion to approve or

veto removal requests.

       53.    On May 3, 2021, the NYPD completed its initial audit of suspect profiles that are

at least two years old. According to the NYPD, out of nearly 30,000 suspect profiles, the NYPD

reviewed 20,460 profiles. Of the 20,460 profiles reviewed, the NYPD marked 5,400 profiles for

removal and retained 15,060 profiles in the index, resulting in over 73% of the reviewed profiles

remaining in the Suspect Index. Of those profiles remaining in the Index, 1,106 profiles are for

individuals who cannot be stored in any index under state law because they have never been

convicted of a crime.

       54.    The City’s Suspect Index has continued to grow, despite the NYPD’s promised

reforms. From June 2, 2021, the date of the first OCME report following the audit, to March 1,

2022, the date of OCME’s most recent report, the Suspect Index has grown from 28,660 to 31,826

profiles, an increase of 3,166 individuals or almost a dozen New Yorkers per day. These samples

have been searched without suspicion by comparing them against approximately 29,492 DNA

samples from crime scenes and will continue to be searched against any future evidence.




                                               17
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 18 of 24




Plaintiffs’ DNA Were Taken by the NYPD and Placed in the City’s Suspect Index to be
Perpetually Searched
                                         Shakira Leslie

        55.    On July 3, 2019, Plaintiff Shakira Leslie was sitting in the back seat of a friend’s

car and leaving a cousin’s birthday party. The NYPD pulled the car over for a purported traffic

infraction and ordered Ms. Leslie, along with the driver and three other passengers, out of the car

to be searched. According to the police, the front seat passenger possessed a firearm in a fanny

pack.

        56.    Ms. Leslie was searched and the NYPD found no contraband on her. And yet, the

police arrested her, and brought her to the precinct for questioning. Ms. Leslie was charged with

possessing the weapon the NYPD found in the possession of the front seat passenger.

        57.    At the precinct, the NYPD deprived Ms. Leslie of food and water for over 12 hours

before they finally brought her into an interrogation room. She was so thirsty that, when police

officers offered her a cup of water, she immediately took it and drank.

        58.    Unbeknownst to Ms. Leslie, the cup of water was a ruse by the NYPD to obtain her

DNA. The NYPD collected the cup and took her DNA without her knowledge, pursuant to their

policy and practice. Ms. Leslie never offered, and was never asked for, her consent to have her

DNA taken. And the NYPD did not obtain a warrant or court order before secretly taking her DNA

and sending the sample to OCME to perform DNA testing.

        59.    After performing an analysis of the DNA, generating a suspect profile, and

comparing it to DNA found on evidence recovered in the case, OCME determined that her profile

did not match any DNA evidence in the case.

        60.    Ms. Leslie was never indicted for any crime in the case and ultimately all charges

against her were dismissed. Despite her innocence, pursuant to its policy and practice, OCME still



                                                18
           Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 19 of 24




placed Ms. Leslie’s DNA profile into the Suspect Index, where it is compared without suspicion

against all past and new crime scene evidence involving DNA.

          61.   At the time her DNA was taken in 2019 and through the present day, Ms. Leslie

has not been convicted of a crime. Ms. Leslie now works as a hair stylist and makeup artist, while

also caring for her newborn son.

          62.   On January 26, 2022, OCME confirmed that Ms. Leslie’s DNA profile remains in

its Suspect Index. Ms. Leslie is troubled by the City treating her as a permanent suspect in all

crimes.

                                         Shamill Burgos

          63.   On September 7, 2019, Plaintiff Shamill Burgos was sitting in the front passenger

seat of a friend’s car that was parked in the lot of an apartment complex. Mr. Burgos’ friend had

just bought the car and Mr. Burgos was checking it out. An unmarked NYPD car then drove up,

two officers came out with their hands on their weapons, and they ordered everyone to get out of

the car. NYPD officers then searched the car and reportedly found a gun inside of a fanny pack in

the trunk of the car.

          64.   The police arrested Mr. Burgos and brought him to a precinct for questioning. At

the precinct, he was placed in a room and handcuffed to a pole for hours. He was later transferred

to a different precinct where he was eventually brought to an interrogation room, where officers

handed him a cup of water and a cigarette. He smoked the cigarette and drank the water.

          65.   After escorting Mr. Burgos out of the interrogation room, NYPD officers returned

to the interrogation room, collected his used cigarette and took his DNA without his knowledge,

pursuant to their policy and practice. Mr. Burgos never offered, and was never asked, to consent




                                               19
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 20 of 24




to have his DNA taken. And the NYPD did not obtain a warrant or court order before secretly

taking his DNA and sending the sample to OCME to perform DNA testing.

       66.     Mr. Burgos was later brought to court where he was arraigned and immediately

released. He was never indicted in the case and his charges were dismissed. Despite that, pursuant

to its policy and practice, OCME analyzed Mr. Burgos’ DNA, generated a suspect profile, and

placed his DNA profile into the Suspect Index, where it is compared without suspicion against all

past and new crime scene evidence involving DNA.

       67.     At the time his DNA was taken in 2019 and through the present day, Mr. Burgos

has not been convicted of a crime. Mr. Burgos is now enrolled in the infantry division of the U.S.

military, where for the last two years he has served his country both domestically and abroad. He

is currently stationed in Louisiana.

       68.     On January 10, 2022, OCME confirmed that Mr. Burgos’ DNA profile remains in

their Suspect Index. Mr. Burgos is worried and scared by the City treating him as a permanent

suspect in all crimes, especially when he no longer lives in New York.

                                 CLASS ACTION ALLEGATIONS

       69.     The named Plaintiffs bring this action on their own behalf and, pursuant to Rule

23(a) and (b)(2) of the Federal Rules of Civil Procedure, on behalf of all people who have had or

will have their DNA surreptitiously taken and analyzed by the Defendants without consent and

without a warrant or court order and maintained in the City’s Suspect Index. All four requirements

of Rule 23(a) are satisfied:

                   a. Numerosity: Joinder of all class members is impracticable because of the

               size and fluid nature of the class. Thousands of DNA samples maintained in the




                                               20
        Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 21 of 24




               Suspect Index were surreptitiously taken and analyzed by the Defendants and are

               perpetually compared against crime scene evidence.

                   b. Commonality: There are questions of law and fact common to all members

               of the class, including, but not limited to: whether the Defendants have the policy

               and practice of surreptitiously taking and analyzing unsuspecting people’s DNA

               and maintaining it in the Suspect Index, and whether that policy and practice results

               in the violation of the class members’ Fourth Amendment and statutory rights.

                   c. Typicality: The claims of the named Plaintiffs are typical of those of the

               class. The named Plaintiffs, like all class members, have been subjected to the

               Defendants’ policies, actions or inaction, have been injured by this, and require

               similar relief.

                   d. Adequacy of Representation: The named Plaintiffs and class counsel will

               fairly and adequately represent the interests of the class. The named Plaintiffs have

               suffered injury and are committed to obtaining declaratory and injunctive relief that

               will benefit the entire class by ending Defendants’ surreptitious and perpetual

               comparison of their DNA against crime scene evidence. Their interests are not

               antagonistic to those of other class members. Class counsel have many years of

               combined experience in complex civil litigation, civil rights, and class action

               litigation.

       70.     Class-wide declaratory and injunctive relief are appropriate under Rule 23(b)(2)

because the Defendants have acted or refused to act on grounds applicable to the class as a whole.




                                                21
         Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 22 of 24




                                  JURISDICTION AND VENUE

        71.     This case arises under the Constitution and laws of the United States, including 42

U.S.C. § 1983. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1343(a)(3)-(4), as this action seeks redress for the violation of the Plaintiffs’ constitutional rights

under color of state law. This Court also has supplemental jurisdiction over this action’s state law

claim pursuant to 28 U.S.C. § 1367(a).

        72.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201(a) and 2202 and Rules 57 and 65 of the Federal Rules of Civil Procedure.

        73.     Venue is proper in the United States District Court for the Southern District of New

York pursuant to 28 U.S.C. § 1391(b) because a substantial part of the events or omissions giving

rise to the claims occurred in this District.

                                      CLAIMS FOR RELIEF

                                        First Cause of Action

                               Violation of the Fourth Amendment
                 Right to Be Secure Against Unreasonable Searches and Seizures

        74.     Defendants’ actions or inactions alleged herein have violated and continue to

violate the rights of the named Plaintiffs and the putative class under the Fourth Amendment of

the United States Constitution.

                                      Second Cause of Action

                          Violation of Article 49-B of the Executive Law

        75.     Defendants’ actions or inactions alleged herein have violated and continue to

violate the rights of the named Plaintiffs and the putative class under Article 49-B of the Executive

Law.



                                                  22
      Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 23 of 24




                                  RELIEF REQUESTED

     WHEREFORE, the Plaintiffs respectfully request that the Court:

a.   Assume jurisdiction over this matter;

b.   Certify this action as a class action pursuant to Rule 23(b)(2) of the Federal Rules of Civil
     Procedure;

c.   Declare that the City’s practice of secretly taking, analyzing and maintaining peoples’
     DNA in its Suspect Index for comparison against crime scene evidence constitutes an
     unreasonable search in violation of the Fourth Amendment absent a warrant or court order
     permitting the search;

d.   Declare that the City’s maintenance of a Suspect Index violates Article 49-B of the
     Executive Law;

e.   Permanently enjoin the Defendants from subjecting the Plaintiffs and the putative class to
     the unconstitutional and unlawful practices described here;

f.   Order the Defendants to expunge all suspect profiles in the City’s Suspect Index that were
     created and maintained as a result of the unconstitutional and unlawful practices described
     here;

g.   Award the Plaintiffs reasonable attorneys’ fees and costs under 42 U.S.C. § 1988; and

h.   Grant any other relief the Court deems just and proper.


Dated: March 21, 2022                              Respectfully submitted,
       New York, N.Y.
                                                   s/ Philip Desgranges

                                                   Philip Desgranges
                                                   J. David Pollock
                                                   Brittany Thomas
                                                   Anna Blondell
                                                   Allison Durkin
                                                   Lisa Freeman
                                                   Corey Stoughton
                                                   The Legal Aid Society
                                                   199 Water Street
                                                   New York, NY 10038
                                                   212-577-3398


                                              23
Case 1:22-cv-02305-NRB Document 1 Filed 03/21/22 Page 24 of 24




                                   pdesgranges@legal-aid.org
                                   jpollock@legal-aid.org
                                   bthomas@legal-aid.org
                                   ablondell@legal-aid.org
                                   adurkin_fellow@legal-aid.org
                                   lafreeman@legal-aid.org
                                   cstoughton@legal-aid.org

                                   Attorneys for Plaintiffs




                              24
